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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

GEORGIA OPERATORS SELF-                )
INSURERS FUND,                         )
                                       )
                                                 CIVIL ACTION FILE NO.
      Plaintiff,                       )
v.                                     )
                                                 1:12-cv-02578-ODE
                                       )
PMA MANAGEMENT CORP.                   )
                                       )
      Defendant.                       )

             PLAINTIFF’S AMENDED INITIAL DISCLOSURES
      Georgia Operators Self-Insurers Fund, by counsel, and pursuant to Federal

Rule of Civil Procedure 26(a)(1) and Local Rule 26.1, provides the following

amended initial disclosures:

      (1) State precisely the classification of the cause of action being filed, a
brief factual outline of the case including plaintiff's contentions as to what
defendant did or failed to do, and a succinct statement of the legal issues in the
case.


      Cause of Action: This is an action for breach of contract, negligence and

breach of fiduciary duty arising out of the Defendant’s performance of workers

compensation claims administration services pursuant to a Third Party

Administrative Services Agreement (“TPA Agreement”) between the Plaintiff and

Defendant. Plaintiff has been injured by Defendant’s mishandling of claims under
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the TPA Agreement. Plaintiff also requests specific performance of the mediation

obligation, punitive damages and attorneys’ fees.

      Factual Outline:    Effective January 16, 2008, Plaintiff and Defendant

entered into the TPA Agreement. The TPA Agreement provides in part that PMA

would provide workers compensation claims handling services to Plaintiff. The

TPA Agreement also provides that any dispute arising under the TPA agreement

will be submitted to non-binding mediation.

      After the Defendant began administering Plaintiff’s worker compensation

claims, Plaintiff realized that the per-claim costs of these claims increased

substantially as compared to its historical experience.      Plaintiff conducted an

investigation into Defendant’s claim handling and discovered that Defendant was

mishandling the claims administration in a number of ways, incurring unnecessary

and excessive expenses on behalf of Plaintiff. Plaintiff repeatedly complained to

Defendant, but Defendant failed to correct all of its deficient practices or to remedy

the damages already caused.

      Pursuant to the TPA Agreement, the Plaintiff attempted to mediate the

dispute in the state of Georgia. The Defendant, however, failed and refused to

mediate. Thus, Plaintiff filed this action against the Defendant on June 29, 2012 in



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Fulton County, Georgia. The Defendant thereafter removed this action to this

Court.

         Legal Issues:

               A. Did the Defendant comply with the TPA Agreement’s mediation

               provision?

               B. Did the Defendant breach the TPA Agreement?

               C. Was     the   Defendant     negligent    in     handling   the   workers

               compensation claims?

               D. What are the amount of damages if Defendant breached the TPA

               Agreement or was negligent its handling of the workers compensation

               claims?

               E. Did Defendant breach a fiduciary duty owed to Plaintiff?

               F. What is the amount of damages if Defendant breached its fiduciary

               duty to Plaintiff?

               G. If the Defendant breached its fiduciary duty to Plaintiff, is Plaintiff

               entitled to punitive damages?

               H. Is the Plaintiff entitled to attorneys’ fees?



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      (2) Describe in detail all statutes, codes, regulations, legal principles,
standards and customs or usages, and illustrative case law which plaintiff contends
are applicable to this action.

         These matters will be governed by the laws of the state of Georgia,

including, but not limited to, Georgia law related to the legal issues described

above and the Georgia Insurance Code regarding claim administrators, O.C.G.A. §

33-23-100 et seq, and related regulations, Georgia Equity Code regarding

confidential relations, O.C.G.A. § 23-2-58 et seq., and Georgia Contract Code

regarding expenses of litigation, O.C.G.A. § 13-6-11.

      (Please note: citations to authority are representative only and are not

intended to be inclusive).

      A breach of contract claim requires: breach and the resultant damages to the

party who has the right to complain about the contract being broken. Budget Rent-

a-Car of Atlanta, Inc. v. Webb, 469 S.E.2d 712, 713 (Ga. Ct. App. 1996).

      A negligence claim requires: duty, breach, proximate cause, and damages.

Cotton States Mut. Ins. Co. v. Brightman, 568 S.E.2d 498, 500 (Ga. Ct. App.

2002).




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      A breach of fiduciary duty (confidential relations) claim requires: existence

of a fiduciary duty, breach of that duty, and damage proximately caused by the

breach. Bienert v. Dickerson, 624 S.E.2d 245, 248 (Ga. Ct. App. 2005).

      Where the terms of a contract create an independent duty sounding in tort, a

plaintiff may sue the Defendant in tort for violation of that duty. Delancy v. St.

Paul Fire & Marine Ins. Co., 947 F.2d 1536, 1545-46 (11th Cir. 1991) (applying

Georgia law).

      Retrospective premium policies impose a duty on the insurer to act

reasonably and in good faith. Liberty Mutual Fire Ins. Co. v. Cagle, No. 1:10-CV-

2158-TWT, 2010 WL 5288673, at *2-3 (N.D. Ga. Dec. 16, 2010) (applying

Georgia law).

      Punitive damages are available for a breach of fiduciary duty. Bunch v.

Byington, et al., 664 S.E.2d 842, 847-48 (Ga. Ct. App. 2008).

      A plaintiff may recover attorneys’ fees where the defendant acted in bad

faith in the underlying transaction. Morrison Homes of Fl. v. Wade, 598 S.E.2d

358, 361 (Ga. Ct. App. 2004).


      (3) Provide the name and, if known, the address and telephone number of
each individual likely to have discoverable information that you may use to
support your claims or defenses, unless solely for impeachment, identifying the


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subjects of the information. (Attach witness list to Initial Disclosures as
Attachment A.)

      Please see Attachment A.


       (4) Provide the name of any person who may be used at trial to present
evidence under Rules 702, 703, or 705 of the Federal Rules of Evidence. For all
experts described in Fed.R.Civ.P. 26(a)(2)(B), provide a separate written report
satisfying the provisions of that rule. (Attach expert witness list and written reports
to Responses to Initial Disclosures as Attachment B.)


      Plaintiff intends to call Doug McCoy as an expert witness at trial regarding the

Defendant’s mishandling of Plaintiff’s workers compensation claims. Mr. McCoy

has issued a written report in this litigation pursuant to Fed. R. Civ. P. 26(a)(2)(B),

and his report was provided to Defendant on February 15, 2013. Plaintiff has

designated Mr. McCoy’s report as confidential pursuant to the protective order in this

litigation. (Dkt. No. 18.) Plaintiff will supplement this response, if appropriate.


      (5) Provide a copy of, or a description by category and location of, all
documents, data compilations or other electronically stored information, and
tangible things in your possession, custody, or control that you may use to support
your claims or defenses unless solely for impeachment, identifying the subjects of
the information. (Attach document list and descriptions to Initial Disclosures as
Attachment C.)

      Please see Attachment C.


      (6) In the space provided below, provide a computation of any category
of damages claimed by you. In addition, include a copy of, or describe by category


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and location of, the documents or other evidentiary material, not privileged or
protected from disclosure, on which such computation is based, including materials
bearing on the nature and extent of injuries suffered, making such documents or
evidentiary material available for inspection and copying as under Fed.R.Civ.P. 34.
(Attach any copies and descriptions to Initial Disclosures as Attachment D.)

      Based on a review conducted by Plaintiff’s expert Doug McCoy of certain

Plaintiff’s workers compensation claims handled by Defendant, the Plaintiff claims

at least $1,361,721.33 in damages because of Defendant’s mishandling of

Plaintiff’s workers compensation claims. Plaintiff produced Mr. McCoy’s analysis

to Defendant on February 15, 2013. Plaintiff also claims $50,495.00 in damages

for the cost Plaintiff incurred to retain Stacy Hosman to oversee Defendant’s

handling of Plaintiff’s workers compensation claims during 2011 and 2012 also

because of Defendant’s mishandling of Plaintiff’s workers compensation claims.

Stacy Hosman’s invoices and Plaintiff’s related payment records were produced to

Defendant on February 15, 2013. Plaintiff’s attorneys’ fees are ever increasing.

Punitive damages should be determined by the fact finder’s judgment of an amount

appropriate to deter the Defendant from similar misconduct in the future.


      (7) Attach for inspection and copying as under Fed.R.Civ.P. 34 any
insurance agreement under which any person carrying on an insurance business
may be liable to satisfy part or all of a judgment which may be entered in this
action or to indemnify or reimburse for payments made to satisfy the judgment.
(Attach copy of insurance agreement to Initial Disclosures as Attachment E.)

      None known to Plaintiff.


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       (8) Disclose the full name, address, and telephone number of all persons
or legal entities who have a subrogation interest in the cause of action set forth in
plaintiff’s cause of action and state the basis and extent of such interest.

       N/A - No persons or legal entities are known to have a subrogation interest in

Plaintiff’s causes of action.


       Submitted this 18th day of February, 2013.


                                               Respectfully submitted,

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                                              Attorneys for Plaintiff




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                        CERTIFICATE OF SERVICE
      I hereby certify that on this 18th day of February, 2013, a copy of the

foregoing Plaintiff’s Amended Initial Disclosures was filed electronically and

will be served by electronic notice via the Court’s CM/ECF system to the

following counsel of record:

                         Paul W. Burke, Esq.
                         Eric R. Mull, Esq.
                         DREW ECKL & FARNHAM, LLP
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                                   /s/ John L. Watkins
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                                   Counsel for Plaintiff




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                     CERTIFICATE OF COMPLIANCE

      As required by Local Rule 7.1D, N.D. Ga., I hereby certify that this pleading

has been prepared in Times New Roman 14-Point font, one of the font and point

selections approved by this Court in Local Rule 5.1B, N.D. Ga.

      This 18th day of February, 2013.

                                            /s/John L. Watkins
                                              John L. Watkins, Esq.
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                                     ATTACHMENT A
      At this stage in the litigation, prior to discovery, Plaintiff does not know all

of the individuals may have information relevant to the Plaintiff’s claims in this

action.     Plaintiff reserves the right to supplement this list with any and all

individuals and entities discovered through written discovery, document

production, depositions, and any other form of discovery permissible under the

Federal Rules of Civil Procedure and the Local Rules of this Court. At this time, it

appears that the following individuals may have information relevant to the

Plaintiff’s claims in this action:

      1.       Randy Squires, the Area Senior Vice President for Arthur J. Gallagher
               Risk Management Services, Inc. and fund administrator for the
               Plaintiff, has knowledge regarding the Agreement for Third Party
               Claims Administrative Services and Defendant’s handling of
               Plaintiff’s workers compensation claims. Mr. Squires can be
               contacted through undersigned counsel.

      2.       Randi L. Watson, the Area Vice President for Arthur J. Gallagher
               Risk Management Services, Inc. and assistant fund administrator for
               the Plaintiff, has knowledge regarding the Agreement for Third Party
               Claims Administrative Services and Defendant’s handling of
               Plaintiff’s workers compensation claims. Ms. Watson can be
               contacted through undersigned counsel.

      3.       Doug McCoy, principal of McCoy Consulting, Inc., and a claim
               management examiner for Plaintiff.        Mr. McCoy investigated
               Defendant’s handling of Plaintiff’s workers compensation claims and
               issued a report. Mr. McCoy can be contacted through undersigned
               counsel.



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4.    Dennis McHugh, of McCoy Consulting, Inc. assisted Mr. McCoy in
      his investigation of Defendant’s handling of Plaintiff’s workers
      compensation claims. Mr. McHugh can be contacted through
      undersigned counsel.

5.    Stacy Hosman, President of Hosman & Associates, Inc., a claim
      consultant for Plaintiff. Ms. Hosman investigated Defendant’s
      handling of Plaintiff’s workers compensation claims. Ms. Hosman
      can be contacted through undersigned counsel.
6.    Michelle A. Anderson, an Area Vice President for Arthur J. Gallagher
      Risk Management Services, Inc., has knowledge regarding the
      Defendant’s handling of Plaintiff’s workers compensation claims.
      Ms. Anderson can be contacted through undersigned counsel.
7.    Current or former employees or representatives of PMA Management
      Corp. who may have knowledge regarding the Agreement for Third
      Party Claims Administrative Services and Defendant’s handling of
      Plaintiff’s workers compensation claims, including but not limited to
      James Walsh, Maggie Conatser, Jane Hough, Charity Birdow,
      Adolphus Drain, Kathleen Reed, Connie Mabry, Angela Noord, Jeff
      Bonner, Sandra Rodriguez, Lesedi Toussaint, Kim Johnson, and
      Marie Marcous. Upon information and belief, current employees or
      representatives of PMA Management Corp. can be contacted through
      Defendant’s counsel.

8.    Individuals identified by Defendant in their initial disclosures, witness
      lists, and discovery responses.
9.    Any as yet unidentified expert witness to be designated by any
      established case management deadline or otherwise established by the
      Court.

10.   Any persons with knowledge of after-acquired evidence (not yet
      identified).




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                                   ATTACHMENT C

      The Plaintiff has custody of certain documents that it may use to support its

claims and defenses, including the following:

         1. The Agreement for Third Party Claims Administrative Services

            between the Plaintiff and Defendant;

         2. Documents related to the Agreement For Third Party Claims

            Administrative Services;

         3. Documents supporting Plaintiff’s claims for damages;

         4. Documents related to Defendant’s handling of Plaintiff’s workers

            compensation claims.

      The Plaintiff reserves the right to modify, amend, or supplement this list

with any and all documents and other evidence discovered through written

discovery, document production, depositions and any other form of discovery

permissible under the Federal Rules of Civil Procedure.




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                                 ATTACHMENT D


         As a result of Defendant’s breach of its duties under the TPA Agreement,

negligence, and breach of its fiduciary duty, Plaintiff has suffered damages

exceeding $1,412,216.33.      Attorneys’ fees cannot be determined at this time;

punitive damages will be determined by the fact finder.

         Plaintiff has produced and will produce for inspection all documents, data,

compilations and tangible things in its possession, custody or control that are

relevant to the computation of damages, except insofar as such documents may be

protected by the attorney-client privilege or under Federal Rule of Civil Procedure

26(b)(3).




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